Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 1 of 10




                 Exhibit 2
  Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 2 of 10




20 November 2017

VIA EMAIL AND COURIER

Dr Reinaldo Enrique Muñoz Pedrosa
Procurador General de la República (E)
Procuraduría General de la República
Av. Los Ilustres, c/c calle Francisco Lazo Martí
Edificio Procuraduría General de la Rep., Piso 8
Urb. Santa Mónica
Caracas 1040, Venezuela
Email: casosinternacionalesvzla@gmail.com

Cc:
Mr Christopher Ryan
Mr Thomas B. Wilner
Shearman & Sterling LLP
801 Pennsylvania Avenue, NW
Washington, D.C. 20004, USA
Email: christopher.ryan@shearman.com; twilner@shearman.com

Ms Anna Tevini
Shearman & Sterling LLP
599 Lexington Avenue
New York, NY 10022, USA
Email: anna.tevini@shearman.com

Mr Guillermo Salcedo Salas
Shearman & Sterling LLP
114, avenue des Champs-Elysées
75008 Paris, France
Email: guillermo.salcedosalas@shearman.com

Mr José Pertierra
The Law Office of José Pertierra
1010 Vermont Ave. NW
Suite 514
Washington, D.C. 20005, USA
Email: josepertierra@aol.com


Your Excellency,

Payment of compensation awarded in Koch Minerals Sàrl and Koch Nitrogen
International Sàrl v. the Bolivarian Republic of Venezuela (ICSID Case No. ARB/11/19)

I refer to the Award dated 30 October 2017 issued by the Tribunal constituted under
the Agreement between the Swiss Confederation and the Republic of Venezuela on
the Reciprocal Promotion and Protection of Investments (18 November 1993) (the
  Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 3 of 10




“Treaty”) and the Convention on the Settlement of Investment Disputes between
States and Nationals of Other States (“ICSID Convention”) in Koch Minerals Sàrl and
Koch Nitrogen International Sàrl v. the Bolivarian Republic of Venezuela (ICSID Case
No. ARB/11/19) (the “Award”).

As you are aware, the Tribunal in its Award held that the Bolivarian Republic of
Venezuela (“Venezuela”) violated the Treaty in respect of the investments made by
Koch Minerals Sàrl (“KOMSA”) and Koch Nitrogen International Sàrl (“KNI”) in
Venezuela.

In particular, the Tribunal held at paragraphs 12.3 and 12.4 of the operative part of the
Award, respectively, that Venezuela violated Article 6 of the Treaty in expropriating: (i)
“the interest in FertiNitro of [KOMSA], thereby causing loss to KOMSA in the total
principal sum of US$ 140.25 million”; and (ii) “the interest in the Offtake Agreement of
[KNI], thereby causing loss to KNI in the total principal sum of US$ 184.8 million”.

You will also be aware that, in its Award, the Tribunal ordered that Venezuela pay
compensation to KOMSA and KNI as follows:

            12.5 [Venezuela] shall pay as compensation to [KOMSA and
            KNI] respectively the said principal sums together with pre-
            award compound interest thereon, from 11 October 2010 to the
            date of this Award calculated at the US$ Libor 6-month rate
            plus 2%, with six monthly rests (or pro rata);

            12.6 [Venezuela] shall pay to [KOMSA and KNI] jointly the total
            principal sum of US$ 17,436,085.10 towards their Legal Costs;

            12.7 [Venezuela] shall pay to [KOMSA and KNI] jointly the total
            principal sum of US$ US$ 628,836.435 towards their
            Arbitration Costs;

            12.8 [Venezuela] shall pay to [KOMSA and KNI] respectively
            post-award compound interest on: (i) the said four principal
            sums; and also (ii) the total pre-award interest due on the
            principal sums of US$ 140.25 million and US$ 184.8 million,
            from the date of this Award until payment calculated at the
            US$ 6-month Libor rate plus 2%, with six monthly rests (or pro
            rata);

Pursuant to Article 53 of the ICSID Convention, the Award is legally binding on
Venezuela and thus, Venezuela must abide by and comply with the terms of the
Award. In accordance with Article 6 of the Treaty, Venezuela must pay the
compensation to KOMSA and KNI “without delay” and “in a freely convertible
currency”.

As at the date of the Award (30 October 2017), Venezuela was obliged to pay to
KOMSA and KNI the total amount of USD 408,980,159.12. This amount comprises the
following three elements:



                                            2
  Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 4 of 10




First, in accordance with paragraphs 12.3 and 12.5 of the Award, Venezuela was
obliged to pay to KOMSA the amount of USD 168,669,011.14. This amount consists of:
(i) the interest in FertiNitro of KOMSA in the total principal sum of USD
140,250,000.00; and (ii) pre-award compound interest thereon, from 11 October 2010
to the date of the Award calculated at the USD LIBOR 6-month rate plus 2%, with six
monthly rests (or pro rata), amounting to USD 28,419,011.14.

Second, in accordance with paragraphs 12.4 and 12.5 of the Award, Venezuela was
obliged to pay to KNI the amount of USD 222,246,226.44. This amount consists of: (i)
the interest in the Offtake Agreement of KNI in the total principal sum of USD
184,800,000.00; and (ii) pre-award compound interest thereon, from 11 October 2010
to the date of the Award calculated at the USD LIBOR 6-month rate plus 2%, with six
monthly rests (or pro rata), amounting to USD 37,446,226.44.

Third, in accordance with paragraphs 12.6 and 12.7 of the Award, Venezuela was
further obliged to pay to KOMSA and KNI jointly: (i) the total principal sum of USD
17,436,085.10 towards their legal costs; and (ii) the total principal sum of USD
628,836.435 towards their arbitration costs.

Pursuant to paragraph 12.8 of the Award, these above amounts continue to increase
and, at the date of this letter, Venezuela is obliged to pay to KOMSA and KNI the
amount of USD 409,823,222.96. Attached is a schedule by way of example showing
the amount (including the relevant post-award interest) which Venezuela will be
obliged to pay to KOMSA and KNI for each day after the date of the Award (based on
the USD LIBOR 6-month rate as of 30 October 2017) until fully paid. If there are
questions regarding these amounts, please contact the undersigned immediately.

KOMSA and KNI hereby request that Venezuela pay the compensation it owes to them
in the amount applicable as of the date of the payment immediately. The payment of
compensation that Venezuela owes to both KOMSA and KNI should be made in US
Dollars (in accordance with Article 6 of the Treaty) to KNI’s bank account below:

JP Morgan Chase Bank, N.A.
25 Bank Street, Canary Wharf
London E14 5JP
United Kingdom
Swift code: CHASGB2L
Account#: 25090201
IBAN#: GB36CHAS60924225090201
Sort Code: 609242

Intermediary bank: JPMorgan Chase New York, USA
Intermediary swift code: CHASUS33
Intermediary ABA#: 021000021




                                         3
  Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 5 of 10




In the absence of full and immediate payment of the compensation requested above,
KOMSA and KNI will proceed to seek enforcement of the Award.

KOMSA and KNI fully reserve all their rights.

Yours sincerely,




Robert G. Volterra
Volterra Fietta
On behalf of KOMSA and KNI




Attachments:

   1. Schedule of Amounts Payable
   2. Award of 30 October 2017 (English and Spanish)




                                           4
Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 6 of 10




      Attachment 1
   Schedule of Amounts
         Payable
              Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 7 of 10


Payment of compensation awarded in Koch Minerals Sàrl and Koch Nitrogen International Sàrl v. the Bolivarian
Republic of Venezuela (ICSID Case No. ARB/11/19)

Attachment 1 - Schedule of Amounts Payable


                                                                  KOM SA and KNI jointly
             Date of         KOM SA                              Legal costs  Arbitration        Total Amount Due
                                            KNI seperately
            Payment         seperately                            awarded    costs awarded           (in USD)
           30/10/2017      168,669,011.14    222,246,226.44     17,436,085.10    628,836.44          408,980,159.12
           31/10/2017      168,685,567.86    222,268,042.35     17,437,796.64    628,898.16          409,020,305.01
           01/11/2017      168,702,124.58    222,289,858.26     17,439,508.19    628,959.89          409,060,450.92
           02/11/2017      168,718,681.29    222,311,674.17     17,441,219.73    629,021.62          409,100,596.81
           03/11/2017      168,735,238.01    222,333,490.08     17,442,931.27    629,083.34          409,140,742.70
           04/11/2017      168,751,794.73    222,355,305.99     17,444,642.82    629,145.07          409,180,888.61
           05/11/2017      168,768,351.44    222,377,121.90     17,446,354.36    629,206.80          409,221,034.50
           06/11/2017      168,784,908.16    222,398,937.81     17,448,065.90    629,268.53          409,261,180.40
           07/11/2017      168,801,464.88    222,420,753.72     17,449,777.45    629,330.25          409,301,326.30
           08/11/2017      168,818,021.59    222,442,569.63     17,451,488.99    629,391.98          409,341,472.19
           09/11/2017      168,834,578.31    222,464,385.54     17,453,200.53    629,453.71          409,381,618.09
           10/11/2017      168,851,135.03    222,486,201.45     17,454,912.08    629,515.43          409,421,763.99
           11/11/2017      168,867,691.74    222,508,017.36     17,456,623.62    629,577.16          409,461,909.88
           12/11/2017      168,884,248.46    222,529,833.27     17,458,335.16    629,638.89          409,502,055.78
           13/11/2017      168,900,805.18    222,551,649.18     17,460,046.71    629,700.62          409,542,201.69
           14/11/2017      168,917,361.90    222,573,465.09     17,461,758.25    629,762.34          409,582,347.58
           15/11/2017      168,933,918.61    222,595,281.00     17,463,469.79    629,824.07          409,622,493.47
           16/11/2017      168,950,475.33    222,617,096.90     17,465,181.34    629,885.80          409,662,639.37
           17/11/2017      168,967,032.05    222,638,912.81     17,466,892.88    629,947.52          409,702,785.26
           18/11/2017      168,983,588.76    222,660,728.72     17,468,604.42    630,009.25          409,742,931.15
           19/11/2017      169,000,145.48    222,682,544.63     17,470,315.97    630,070.98          409,783,077.06
           20/11/2017      169,016,702.20    222,704,360.54     17,472,027.51    630,132.71          409,823,222.96
           21/11/2017      169,033,258.91    222,726,176.45     17,473,739.05    630,194.43          409,863,368.84
           22/11/2017      169,049,815.63    222,747,992.36     17,475,450.60    630,256.16          409,903,514.75
           23/11/2017      169,066,372.35    222,769,808.27     17,477,162.14    630,317.89          409,943,660.65
           24/11/2017      169,082,929.07    222,791,624.18     17,478,873.68    630,379.62          409,983,806.55
           25/11/2017      169,099,485.78    222,813,440.09     17,480,585.23    630,441.34          410,023,952.44
           26/11/2017      169,116,042.50    222,835,256.00     17,482,296.77    630,503.07          410,064,098.34
           27/11/2017      169,132,599.22    222,857,071.91     17,484,008.31    630,564.80          410,104,244.24
           28/11/2017      169,149,155.93    222,878,887.82     17,485,719.86    630,626.52          410,144,390.13
           29/11/2017      169,165,712.65    222,900,703.73     17,487,431.40    630,688.25          410,184,536.03
           30/11/2017      169,182,269.37    222,922,519.64     17,489,142.94    630,749.98          410,224,681.93
           01/12/2017      169,198,826.08    222,944,335.55     17,490,854.49    630,811.71          410,264,827.83
           02/12/2017      169,215,382.80    222,966,151.45     17,492,566.03    630,873.43          410,304,973.71
           03/12/2017      169,231,939.52    222,987,967.36     17,494,277.57    630,935.16          410,345,119.61
           04/12/2017      169,248,496.23    223,009,783.27     17,495,989.12    630,996.89          410,385,265.51
           05/12/2017      169,265,052.95    223,031,599.18     17,497,700.66    631,058.61          410,425,411.40
           06/12/2017      169,281,609.67    223,053,415.09     17,499,412.20    631,120.34          410,465,557.30
           07/12/2017      169,298,166.39    223,075,231.00     17,501,123.75    631,182.07          410,505,703.21
           08/12/2017      169,314,723.10    223,097,046.91     17,502,835.29    631,243.80          410,545,849.10
           09/12/2017      169,331,279.82    223,118,862.82     17,504,546.83    631,305.52          410,585,994.99
           10/12/2017      169,347,836.54    223,140,678.73     17,506,258.38    631,367.25          410,626,140.90
           11/12/2017      169,364,393.25    223,162,494.64     17,507,969.92    631,428.98          410,666,286.79
           12/12/2017      169,380,949.97    223,184,310.55     17,509,681.46    631,490.70          410,706,432.68
           13/12/2017      169,397,506.69    223,206,126.46     17,511,393.01    631,552.43          410,746,578.59
           14/12/2017      169,414,063.40    223,227,942.37     17,513,104.55    631,614.16          410,786,724.48
           15/12/2017      169,430,620.12    223,249,758.28     17,514,816.09    631,675.89          410,826,870.38
           16/12/2017      169,447,176.84    223,271,574.19     17,516,527.64    631,737.61          410,867,016.28
           17/12/2017      169,463,733.55    223,293,390.10     17,518,239.18    631,799.34          410,907,162.17
           18/12/2017      169,480,290.27    223,315,206.01     17,519,950.72    631,861.07          410,947,308.07
           19/12/2017      169,496,846.99    223,337,021.91     17,521,662.27    631,922.80          410,987,453.97
           20/12/2017      169,513,403.71    223,358,837.82     17,523,373.81    631,984.52          411,027,599.86
           21/12/2017      169,529,960.42    223,380,653.73     17,525,085.35    632,046.25          411,067,745.75
           22/12/2017      169,546,517.14    223,402,469.64     17,526,796.90    632,107.98          411,107,891.66
           23/12/2017      169,563,073.86    223,424,285.55     17,528,508.44    632,169.70          411,148,037.55
           24/12/2017      169,579,630.57    223,446,101.46     17,530,219.98    632,231.43          411,188,183.44
           25/12/2017      169,596,187.29    223,467,917.37     17,531,931.53    632,293.16          411,228,329.35
           26/12/2017      169,612,744.01    223,489,733.28     17,533,643.07    632,354.89          411,268,475.25
           27/12/2017      169,629,300.72    223,511,549.19     17,535,354.61    632,416.61          411,308,621.13
           28/12/2017      169,645,857.44    223,533,365.10     17,537,066.16    632,478.34          411,348,767.04
           29/12/2017      169,662,414.16    223,555,181.01     17,538,777.70    632,540.07          411,388,912.94
           30/12/2017      169,678,970.88    223,576,996.92     17,540,489.24    632,601.79          411,429,058.83
           31/12/2017      169,695,527.59    223,598,812.83     17,542,200.79    632,663.52          411,469,204.73
           01/01/2018      169,712,084.31    223,620,628.74     17,543,912.33    632,725.25          411,509,350.63



                                                              Page 1 of 3
  Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 8 of 10


                                                   KOM SA and KNI jointly
 Date of       KOM SA                             Legal costs  Arbitration    Total Amount Due
                              KNI seperately
Payment       seperately                           awarded    costs awarded       (in USD)
02/01/2018   169,728,641.03   223,642,444.65     17,545,623.87   632,786.98      411,549,496.53
03/01/2018   169,745,197.74   223,664,260.56     17,547,335.42   632,848.70      411,589,642.42
04/01/2018   169,761,754.46   223,686,076.46     17,549,046.96   632,910.43      411,629,788.31
05/01/2018   169,778,311.18   223,707,892.37     17,550,758.50   632,972.16      411,669,934.21
06/01/2018   169,794,867.89   223,729,708.28     17,552,470.05   633,033.89      411,710,080.11
07/01/2018   169,811,424.61   223,751,524.19     17,554,181.59   633,095.61      411,750,226.00
08/01/2018   169,827,981.33   223,773,340.10     17,555,893.14   633,157.34      411,790,371.91
09/01/2018   169,844,538.04   223,795,156.01     17,557,604.68   633,219.07      411,830,517.80
10/01/2018   169,861,094.76   223,816,971.92     17,559,316.22   633,280.79      411,870,663.69
11/01/2018   169,877,651.48   223,838,787.83     17,561,027.77   633,342.52      411,910,809.60
12/01/2018   169,894,208.20   223,860,603.74     17,562,739.31   633,404.25      411,950,955.50
13/01/2018   169,910,764.91   223,882,419.65     17,564,450.85   633,465.98      411,991,101.39
14/01/2018   169,927,321.63   223,904,235.56     17,566,162.40   633,527.70      412,031,247.29
15/01/2018   169,943,878.35   223,926,051.47     17,567,873.94   633,589.43      412,071,393.19
16/01/2018   169,960,435.06   223,947,867.38     17,569,585.48   633,651.16      412,111,539.08
17/01/2018   169,976,991.78   223,969,683.29     17,571,297.03   633,712.88      412,151,684.98
18/01/2018   169,993,548.50   223,991,499.20     17,573,008.57   633,774.61      412,191,830.88
19/01/2018   170,010,105.21   224,013,315.11     17,574,720.11   633,836.34      412,231,976.77
20/01/2018   170,026,661.93   224,035,131.02     17,576,431.66   633,898.07      412,272,122.68
21/01/2018   170,043,218.65   224,056,946.92     17,578,143.20   633,959.79      412,312,268.56
22/01/2018   170,059,775.37   224,078,762.83     17,579,854.74   634,021.52      412,352,414.46
23/01/2018   170,076,332.08   224,100,578.74     17,581,566.29   634,083.25      412,392,560.36
24/01/2018   170,092,888.80   224,122,394.65     17,583,277.83   634,144.97      412,432,706.25
25/01/2018   170,109,445.52   224,144,210.56     17,584,989.37   634,206.70      412,472,852.15
26/01/2018   170,126,002.23   224,166,026.47     17,586,700.92   634,268.43      412,512,998.05
27/01/2018   170,142,558.95   224,187,842.38     17,588,412.46   634,330.16      412,553,143.95
28/01/2018   170,159,115.67   224,209,658.29     17,590,124.00   634,391.88      412,593,289.84
29/01/2018   170,175,672.38   224,231,474.20     17,591,835.55   634,453.61      412,633,435.74
30/01/2018   170,192,229.10   224,253,290.11     17,593,547.09   634,515.34      412,673,581.64
31/01/2018   170,208,785.82   224,275,106.02     17,595,258.63   634,577.07      412,713,727.54
01/02/2018   170,225,342.53   224,296,921.93     17,596,970.18   634,638.79      412,753,873.43
02/02/2018   170,241,899.25   224,318,737.84     17,598,681.72   634,700.52      412,794,019.33
03/02/2018   170,258,455.97   224,340,553.75     17,600,393.26   634,762.25      412,834,165.23
04/02/2018   170,275,012.69   224,362,369.66     17,602,104.81   634,823.97      412,874,311.13
05/02/2018   170,291,569.40   224,384,185.57     17,603,816.35   634,885.70      412,914,457.02
06/02/2018   170,308,126.12   224,406,001.47     17,605,527.89   634,947.43      412,954,602.91
07/02/2018   170,324,682.84   224,427,817.38     17,607,239.44   635,009.16      412,994,748.82
08/02/2018   170,341,239.55   224,449,633.29     17,608,950.98   635,070.88      413,034,894.70
09/02/2018   170,357,796.27   224,471,449.20     17,610,662.52   635,132.61      413,075,040.60
10/02/2018   170,374,352.99   224,493,265.11     17,612,374.07   635,194.34      413,115,186.51
11/02/2018   170,390,909.70   224,515,081.02     17,614,085.61   635,256.06      413,155,332.39
12/02/2018   170,407,466.42   224,536,896.93     17,615,797.15   635,317.79      413,195,478.29
13/02/2018   170,424,023.14   224,558,712.84     17,617,508.70   635,379.52      413,235,624.20
14/02/2018   170,440,579.85   224,580,528.75     17,619,220.24   635,441.25      413,275,770.09
15/02/2018   170,457,136.57   224,602,344.66     17,620,931.78   635,502.97      413,315,915.98
16/02/2018   170,473,693.29   224,624,160.57     17,622,643.33   635,564.70      413,356,061.89
17/02/2018   170,490,250.01   224,645,976.48     17,624,354.87   635,626.43      413,396,207.79
18/02/2018   170,506,806.72   224,667,792.39     17,626,066.41   635,688.15      413,436,353.67
19/02/2018   170,523,363.44   224,689,608.30     17,627,777.96   635,749.88      413,476,499.58
20/02/2018   170,539,920.16   224,711,424.21     17,629,489.50   635,811.61      413,516,645.48
21/02/2018   170,556,476.87   224,733,240.12     17,631,201.04   635,873.34      413,556,791.37
22/02/2018   170,573,033.59   224,755,056.03     17,632,912.59   635,935.06      413,596,937.27
23/02/2018   170,589,590.31   224,776,871.93     17,634,624.13   635,996.79      413,637,083.16
24/02/2018   170,606,147.02   224,798,687.84     17,636,335.67   636,058.52      413,677,229.05
25/02/2018   170,622,703.74   224,820,503.75     17,638,047.22   636,120.25      413,717,374.96
26/02/2018   170,639,260.46   224,842,319.66     17,639,758.76   636,181.97      413,757,520.85
27/02/2018   170,655,817.18   224,864,135.57     17,641,470.30   636,243.70      413,797,666.75
28/02/2018   170,672,373.89   224,885,951.48     17,643,181.85   636,305.43      413,837,812.65
01/03/2018   170,688,930.61   224,907,767.39     17,644,893.39   636,367.15      413,877,958.54
02/03/2018   170,705,487.33   224,929,583.30     17,646,604.93   636,428.88      413,918,104.44
03/03/2018   170,722,044.04   224,951,399.21     17,648,316.48   636,490.61      413,958,250.34
04/03/2018   170,738,600.76   224,973,215.12     17,650,028.02   636,552.34      413,998,396.24
05/03/2018   170,755,157.48   224,995,031.03     17,651,739.56   636,614.06      414,038,542.13
06/03/2018   170,771,714.19   225,016,846.94     17,653,451.11   636,675.79      414,078,688.03
07/03/2018   170,788,270.91   225,038,662.85     17,655,162.65   636,737.52      414,118,833.93
08/03/2018   170,804,827.63   225,060,478.76     17,656,874.19   636,799.24      414,158,979.82
09/03/2018   170,821,384.34   225,082,294.67     17,658,585.74   636,860.97      414,199,125.72
10/03/2018   170,837,941.06   225,104,110.58     17,660,297.28   636,922.70      414,239,271.62
11/03/2018   170,854,497.78   225,125,926.48     17,662,008.82   636,984.43      414,279,417.51
12/03/2018   170,871,054.50   225,147,742.39     17,663,720.37   637,046.15      414,319,563.41



                                               Page 2 of 3
  Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 9 of 10


                                                   KOM SA and KNI jointly
 Date of       KOM SA                             Legal costs  Arbitration    Total Amount Due
                              KNI seperately
Payment       seperately                           awarded    costs awarded       (in USD)
13/03/2018   170,887,611.21   225,169,558.30     17,665,431.91   637,107.88      414,359,709.30
14/03/2018   170,904,167.93   225,191,374.21     17,667,143.45   637,169.61      414,399,855.20
15/03/2018   170,920,724.65   225,213,190.12     17,668,855.00   637,231.34      414,440,001.11
16/03/2018   170,937,281.36   225,235,006.03     17,670,566.54   637,293.06      414,480,146.99
17/03/2018   170,953,838.08   225,256,821.94     17,672,278.08   637,354.79      414,520,292.89
18/03/2018   170,970,394.80   225,278,637.85     17,673,989.63   637,416.52      414,560,438.80
19/03/2018   170,986,951.51   225,300,453.76     17,675,701.17   637,478.24      414,600,584.68
20/03/2018   171,003,508.23   225,322,269.67     17,677,412.71   637,539.97      414,640,730.58
21/03/2018   171,020,064.95   225,344,085.58     17,679,124.26   637,601.70      414,680,876.49
22/03/2018   171,036,621.67   225,365,901.49     17,680,835.80   637,663.43      414,721,022.39
23/03/2018   171,053,178.38   225,387,717.40     17,682,547.34   637,725.15      414,761,168.27
24/03/2018   171,069,735.10   225,409,533.31     17,684,258.89   637,786.88      414,801,314.18
25/03/2018   171,086,291.82   225,431,349.22     17,685,970.43   637,848.61      414,841,460.08
26/03/2018   171,102,848.53   225,453,165.13     17,687,681.97   637,910.33      414,881,605.96
27/03/2018   171,119,405.25   225,474,981.03     17,689,393.52   637,972.06      414,921,751.86
28/03/2018   171,135,961.97   225,496,796.94     17,691,105.06   638,033.79      414,961,897.76
29/03/2018   171,152,518.68   225,518,612.85     17,692,816.60   638,095.52      415,002,043.65
30/03/2018   171,169,075.40   225,540,428.76     17,694,528.15   638,157.24      415,042,189.55
31/03/2018   171,185,632.12   225,562,244.67     17,696,239.69   638,218.97      415,082,335.45
01/04/2018   171,202,188.83   225,584,060.58     17,697,951.23   638,280.70      415,122,481.34
02/04/2018   171,218,745.55   225,605,876.49     17,699,662.78   638,342.42      415,162,627.24
03/04/2018   171,235,302.27   225,627,692.40     17,701,374.32   638,404.15      415,202,773.14
04/04/2018   171,251,858.99   225,649,508.31     17,703,085.86   638,465.88      415,242,919.04
05/04/2018   171,268,415.70   225,671,324.22     17,704,797.41   638,527.61      415,283,064.94
06/04/2018   171,284,972.42   225,693,140.13     17,706,508.95   638,589.33      415,323,210.83
07/04/2018   171,301,529.14   225,714,956.04     17,708,220.49   638,651.06      415,363,356.73
08/04/2018   171,318,085.85   225,736,771.95     17,709,932.04   638,712.79      415,403,502.63
09/04/2018   171,334,642.57   225,758,587.86     17,711,643.58   638,774.52      415,443,648.53
10/04/2018   171,351,199.29   225,780,403.77     17,713,355.12   638,836.24      415,483,794.42
11/04/2018   171,367,756.00   225,802,219.68     17,715,066.67   638,897.97      415,523,940.32
12/04/2018   171,384,312.72   225,824,035.59     17,716,778.21   638,959.70      415,564,086.22
13/04/2018   171,400,869.44   225,845,851.49     17,718,489.75   639,021.42      415,604,232.10
14/04/2018   171,417,426.15   225,867,667.40     17,720,201.30   639,083.15      415,644,378.00
15/04/2018   171,433,982.87   225,889,483.31     17,721,912.84   639,144.88      415,684,523.90
16/04/2018   171,450,539.59   225,911,299.22     17,723,624.38   639,206.61      415,724,669.80
17/04/2018   171,467,096.31   225,933,115.13     17,725,335.93   639,268.33      415,764,815.70
18/04/2018   171,483,653.02   225,954,931.04     17,727,047.47   639,330.06      415,804,961.59
19/04/2018   171,500,209.74   225,976,746.95     17,728,759.01   639,391.79      415,845,107.49
20/04/2018   171,516,766.46   225,998,562.86     17,730,470.56   639,453.51      415,885,253.39
21/04/2018   171,533,323.17   226,020,378.77     17,732,182.10   639,515.24      415,925,399.28
22/04/2018   171,549,879.89   226,042,194.68     17,733,893.64   639,576.97      415,965,545.18
23/04/2018   171,566,436.61   226,064,010.59     17,735,605.19   639,638.70      416,005,691.09
24/04/2018   171,582,993.32   226,085,826.50     17,737,316.73   639,700.42      416,045,836.97
25/04/2018   171,599,550.04   226,107,642.41     17,739,028.27   639,762.15      416,085,982.87
26/04/2018   171,616,106.76   226,129,458.32     17,740,739.82   639,823.88      416,126,128.78
27/04/2018   171,632,663.48   226,151,274.23     17,742,451.36   639,885.60      416,166,274.67
28/04/2018   171,649,220.19   226,173,090.14     17,744,162.90   639,947.33      416,206,420.56
29/04/2018   171,665,776.91   226,194,906.04     17,745,874.45   640,009.06      416,246,566.46
30/04/2018   171,682,333.63   226,216,721.95     17,747,585.99   640,070.79      416,286,712.36




                                               Page 3 of 3
 Case 1:17-cv-02559-ZMF Document 1-2 Filed 11/28/17 Page 10 of 10




      Attachment 2
Award of 30 October 2017
 (Intentionally Omitted)
